                                 Case 5:11-cv-01846-LHK Document 2069 Filed 10/20/12 Page 1 of 2




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                 
                                                         UNITED STATES DISTRICT COURT
                 
                                           NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
                 
                         APPLE INC., a California corporation,         CASE NO. 11-cv-01846-LHK
                 
                                           Plaintiff,                  MANUAL FILING NOTIFICATION FOR
                                                                    EXHIBITS TO THE DECLARATION OF
                                     vs.                               MICHAEL J. WAGNER IN SUPPORT OF
                                                                    SAMSUNG'S OPPOSITION TO APPLE'S
                     SAMSUNG ELECTRONICS CO., LTD., a                  MOTION FOR PERMANENT
                  Korean business entity; SAMSUNG                   INJUNCTION AND ENHANCED
                     ELECTRONICS AMERICA, INC., a New                  DAMAGES
                  York corporation; SAMSUNG
                     TELECOMMUNICATIONS AMERICA, LLC,
                  a Delaware limited liability company,
                                        Defendants.

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02198.51855/4996856.5                                                                   Case No. 11-cv-01846-LHK
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                                                                                    MANUAL FILING NOTIFICATION
                         Case 5:11-cv-01846-LHK Document 2069 Filed 10/20/12 Page 2 of 2




                   1                                  MANUAL FILING NOTIFICATION
                   2 Regarding:       Exhibits 1, 4, 7, 19, 24, 25, 34, 46, 54, 55, 175, 183, 190, 193, 200, and 205 to the

                   3                  Declaration of Michael J. Wagner in Support of Samsung’s Opposition to Apple’s

                   4                  Motion for Permanent Injunction and Damages Enhancement.

                   5

                   6          This filing is in paper or physical form only, and is being maintained in the case file in the

                   7 Clerk’s office. The exhibits will be served on all parties.

                   8          For information on retrieving this filing directly from the court, please see the court’s main

                   9 web site at http://www.cand.uscourts.gov under Frequently Asked Questions (FAQ).

                 10           This filing was not e-filed for the following reason(s): Voluminous Document

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                 13 DATED: October 19, 2012                       QUINN EMANUEL URQUHART & SULLIVAN, LLP

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                 15
                                                                     By /s/ Susan R. Estrich
                 16                                                    Susan R. Estrich
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                 17                                                    CO., LTD., SAMSUNG ELECTRONICS
                                                                       AMERICA, INC. and SAMSUNG
                 18                                                    TELECOMMUNICATIONS AMERICA, LLC
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                                                                                           MANUAL FILING NOTIFICATION
